                      UNITED STATES DISTRICT COURT
               FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                           STATESVILLE DIVISION
                     CRIMINAL DOCKET NO. 5:08CR12-2-V

UNITED STATES OF AMERICA                   )
                                           )
vs.                                        )              ORDER
                                           )
JOEY ANTRONE CARROLL,                      )
                                           )
              Defendant.                   )
                                           )

        THIS MATTER is before the Court on the Government’s Motion for

Reconsideration of Bond and Motion to Stay. Document #41. The Defendant had a

detention hearing before United States Magistrate Judge Carl Horn on April 21, 2008.

At the conclusion of that hearing, the Magistrate Judge ordered the Defendant

released, subject to electronic monitoring and a $50,000 unsecured bond. Documents

##38, 39. Also on April 21, 2008, immediately subsequent to that order, the

Government now moves this Court to stay the order releasing Defendant so that it may

seek this Court’s review of the Magistrate Judge’s decision pursuant to 18 U.S.C. §

3145(a). Since the Defendant remains in custody at this time, this Court will stay the

order of release pending the outcome of its review of that order.

        IT IS, THEREFORE, ORDERED that the Government’s Motion to Stay the

Release of the Defendant is hereby GRANTED so that this Court may conduct a review
                                               Signed: April 21, 2008
of the decision of the Magistrate Judge.




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